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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF VIRGINIA
                                           Alexandria Division


 AMPEREX TECHNOLOGY LIMITED,                           )
                                                       )
                  Plainti,ff                           )
                                                       )
         V.                                            )           No. l:23-cv-272(PTG/LRV)
                                                       )
 SEMICONDUCTOR ENERGY                                  )
       LABORATORY CO., LTD.,                           )
                                                       )
                  Defendant,                           )

                                                  ORDER


        A Fed. R. Civ. P. 16(b) PRETRIAL CONFERENCE will be held on Wednesday. April 24. 2024.
at 11:00 a.m. before a magistrate judge.' The parties shall confer before this conference to consider the
claims, defenses, possibilities of a prompt settlement or resolution of the case, trial before a magistrate
Judge, to arrange for the disclosures required by Rule 26(a)(1), and to develop a discovery plan which will
complete discovery by Friday. August 16. 2024. A party may not exceed five (5) non-party, non-expert
witness depositions and may not serve on any other party more than thirty (30) interrogatories, including
parts and subparts, without leave of court. Proposed discovery plans must be filed by the Friday one week
before the Rule Ibtb') pretrial conference.

        Any party required to file an answer must do so within twenty (20) days.

        The FINAL PRETRIAL CONFERENCE will be held on Wednesday. August 21. 2024 at 10:00
a.m.



        The parties must electronically ifle on or before the final pretrial conference the Rule 26(a)(3)
disclosures and a list of the exhibits to be used at trial, a list of the witnesses to be called at trial and a
written stipulation of uncontested facts. The exhibits themselves or a copy should be exchanged with
opposing counsel before the conference. Objections to exhibits must be filed within 10 days after the
conference; otherwise the exhibits shall stand admitted in evidence. The original exhibits shall be delivered
to the clerk as provided by Local Rule 79(A). Exhibits not so disclosed and listed will not be permitted at
trial except for impeachment or rebuttal, and no person may testify whose identity, being subject to
disclosure or timely requested in discovery, was not disclosed in time to be deposed or to permit the
substance of his knowledge and opinions to be ascertained. The trial of this case will be set for a day
certain, within 4-8 weeks of the final pretrial conference.

        Discovery may begin as of receipt of this Order.

     PERSONAL IDENTIFIERS MUST BE REDACTED FROM ALL                                     PUBLICLY       FILED
PLEADINGS AND EXHIBITS IN ACCORDANCE WITH LOCAL RULE 7(C).


Entered this 19th day of March, 2024.
                                                           Patricia Tolliver Giles
                                                           United States District Judge


 This conference need not be in person and can be conducted by telephone conference.
